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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

    UNITED STATES OF AMERICA,                       :      Case No. 1:20-cr-77
                                                    :
    vs.                                             :      Judge Timothy S. Black
                                                    :
    LARRY HOUSEHOLDER, et al.,                      :
                                                    :
           Defendants.                              :

                               CRIMINAL TRIAL CALENDAR

                                                        February 1, 2022
                    1
Pretrial Motions:                                          Opposition by February 22, 2022
                                                           Reply (if any) by March 8, 2022
Deadline to Supplement Privilege Logs:2                 March 15, 2022
Deadline for Filter Team to Disclose List of Proposed
                                                      April 15, 2022
Non-Privileged Documents to Defense Counsel:
                                                        April 25, 2022 at 1:30 p.m.
Hearing on Pretrial Motions (if needed):3
                                                        Courtroom #1, Room 805
Meet and Confer Between Filter Team and Defense
                                                        April 29, 2022
Counsel:
Deadline for Defendants’ (or Non-Parties’) Motion       May 16, 2022
for Protective Order and/or In Camera Review              Opposition by June 6, 2022
Regarding Privilege Claims:4                              Reply (if any) by June 20, 2022




1
  Defendant Householder’s SEALED amended motion to suppress (Doc. 114) is subject to the
following amended briefing schedule: amended motion due March 1, 2022; response in opposition due
March 22, 2022; and reply (if any) due April 5, 2022. (Not. Order, Feb. 23, 2022).
2
  Counsel on behalf of Defendant Householder shall supply the Government’s Filter Team with
supplemented privilege logs, to include Bates numbers of the specified documents or, in the
alternative, counsel shall provide PDF copies of the specified documents.
3
 In the event that a hearing is required on Defendant Householder’s SEALED amended motion to
suppress (Doc. 114), the Court will separately set the motion for a sealed hearing.
4
 As early as May 17, 2022, the Filter Team may release to the Prosecution Team any document not
specifically identified in a motion for protective order or motion for in camera review, unless a
potential moving party has been granted an extension of time to file said motions or has timely sought
an extension of time that has yet to be ruled on.
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In Chambers Conference for Final Rulings on
                                                      July 13, 2022 at 1:30 p.m.
Privilege Claims (the Court, Filter Team, and Counsel
                                                      Chambers, Room 815
for Moving Party only):
Disclosure of Anticipated Subject Areas of Expert
                                                         July 18, 2022
Testimony in Case-in-Chief:
                                                         August 15, 2022
                               5
Rule 404(b) Notice Deadline:                               Opposition (if any) by September 5, 2022
                                                           Reply (if any) by September 23, 2022
Expert Disclosures (if any) Pursuant to Rule 16:         September 1, 2022
                                                         September 26, 2022
Daubert Motions (if any):                                   Opposition by October 17, 2022
                                                            Reply (if any) by October 31, 2022
Deadline to Submit Proposed Questions for Inclusion
                                                     November 1, 2022
in the Special Questionnaire to Prospective Jurors:6
                                                         November 9, 2022
Deadline for Motions in Limine:                            Opposition by November 28, 2022
                                                           Reply (if any) by December 5, 2022
                                                         November 16, 2022 at 1:00 p.m.
Daubert Hearing (if required):
                                                         Courtroom #1, Room 805
                                                         December 12, 2022 at 1:00 p.m.
Hearing on Motions in Limine (if required):
                                                         Courtroom #1, Room 805
Jencks & Giglio Production:                              January 2, 2023
Proposed Jury Instructions & Verdict Forms:7             January 4, 2023
Proposed Witness Lists & Exhibit Lists:8                 January 4, 2023
Trial Briefs (if any):                                   January 6, 2023




5
 In the event that Defendants seek to exclude any evidence identified in the Government’s Rule 404(b)
Notice, the Notice will be construed as a motion, to which Defendants should file a memorandum in
opposition (as opposed to a separate motion to exclude).
6
  The parties shall provide the Court with a jointly proposed Special Questionnaire, in Word format.
If the parties cannot agree on the inclusion of certain questions, those questions shall be included at the
end of the proposed Special Questionnaire and identified as opposed.
7
 Proposed jury instructions and verdict forms must be filed on the docket and must also be emailed, in
Word format, to the Court’s law clerk.
8
 Witness and exhibit lists must be emailed, in Word format, to the Court’s law clerk, and may be
submitted ex parte. Witnesses must be listed in the anticipated order of presentation.


                                                     2
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Exhibit Binders:9                                       January 11, 2023
                                                        January 11, 2023 at 2:00 p.m.
Final Pretrial Conference (attorneys only):
                                                        Chambers, Room 815
                                                        January 20, 2023 at 9:30 a.m.
Voir Dire:
                                                        Courtroom #1, Room 805
                                                        January 23, 2023 at 9:30 a.m.
Jury Trial:
                                                        Courtroom #1, Room 805

       IT IS SO ORDERED.

Date: 3/11/2022
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                                                                    Timothy
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                                                                                  Black
                                                                                    lack
                                                                    United SStates
                                                                             tattes District Judge




9
  The Court requires: (1) the original set of all exhibits (witnesses’ exhibit binder); (2) one complete
hard-copy set of all exhibits (Judge Black’s courtesy exhibit binder); and (3) one set of all exhibits in
electronic format, saved to a USB flash drive (Law Clerk’s exhibits). The original and Judge’s copy of
the exhibits must be pre-marked and organized sequentially in tabbed, three-ring binders. All three
sets must be delivered to Chambers in Room 815. Counsel will not be permitted to add or amend
exhibits after trial has commenced, unless counsel provides the Court with the new or amended
exhibits (in all three formats) and amended exhibits lists, before the Court next reconvenes.

                                                   3
